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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


  SERGIO FACUNDO, on behalf of himself and              )
  all others similarly situated and                     )
  JUAN MARTINEZ,                                        )
                                                        )
                               Plaintiffs,              )
                                                        )   Civil Action No.: 4:15-CV-808-ALM
  v.                                                    )   JURY DEMANDED
                                                        )
  GANT CONTRACTORS, INC. and                            )
  PAUL E. GANT,                                         )
                                                        )
                               Defendants.              )


                          ORDER DISMISSING CASE WITH PREJUDICE

         Before the Court is the Agreed Motion To Dismiss With Prejudice of Plaintiffs, Sergio

  Facundo and Juan Martinez, the individuals that have filed a consent pursuant to 29 U.S.C. Sec.

  216 (b) to opt-in to become a plaintiff, Osbaldo Ocana, Mario Gonzales, Oscar Martinez and

  Leopoldo Licea, and Defendants, Gant Contractors, Inc. and Paul E. Gant, seeking dismissal

  with prejudice. The Court is of the opinion that the motion should be granted. IT IS

. THEREFORE ORDERED that the Agreed Motion to Dismiss is GRANTED, this case is

  DISMISSED WITH PREJUDICE, and costs and fees, including attorneys’ fees will be borne by

  those incurring the same.

         THIS IS A FINAL JUDGMENT

         SIGNED this 3rd day of May, 2016.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
